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11   Meta Platforms, Inc. and
     and Facebook TechnoloJ!ies, LLC
12
                                  UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
14
                                        SAN FRANCISCO DIVISION
15
     UAB "PLANNER5D" d/b/a PLANNER 5D,            ) CASE NO. 3:19-CV-03132-WHO
16                                                ) CASE NO. 3:20-CV-08261-WHO
                  Plaintiff,                      )
17
                                                  ) DEFENDANTS' NOTICE OF MOTION AND
18         V.                                     ) MOTION FOR SUMMARY JUDGMENT AND
                                                  ) MEMORANDUM OF POINTS AND
     META PLATFORMS, INC., FACEBOOK                 AUTHORITIES IN SUPPORT THEREOF
19                                                )
     TECHNOLOGIES, LLC, THE TRUSTEES              )
20   OF PRINCETON UNIVERSITY, DOES 1-             ) Hearing Date: July 12, 2023
     200, ABC CORPORATIONS 1-20 and XYZ           ) Time: 2:00 PM
21   UNIVERSITIES 1-20,                           ) Courtroom: 2, 17th Floor
22                Defendants.                     )
                                                    Judge: Honorable William H. Orrick
                                                  )
23                                                )
24 1 - - - - - - - - - - - - - - - - - )

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 1                 NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT

 2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD

 3          TAKE NOTICE that on Wednesday, July 12, 2023, at 2:00 p.m. Courtroom 2 of this Court, the

 4   Honorable William H. Orrick presiding, located at 450 Golden Gate Avenue, San Francisco, California,

 5   Defendants Meta Platforms, Inc. Facebook Technologies, LLC; and The Trustees of Princeton University

 6   (collectively, "Defendants"), will move for an Order granting summary judgment in Defendants' favor and

 7   against Plaintiff UAB "Planner5D" ("Planner 5D") pursuant to the Court's orders of June 22, 2022 and

 8   November 16, 2022. (Dkts. 182, 212). In light of the anticipated briefing schedule for this Motion and

 9   Defendants' counsels' respective trial and travel commitments in the spring of 2023, July 12, 2023 is the

10   earliest date on which they can appear for oral argument.

11          This Motion is based upon this Notice of Motion and Motion, the below Memorandum of Points

12   and Authorities, the concurrently filed Declarations and their associated exhibits, the pleadings and papers

13   on file in this action, and any further evidence as may be presented at the hearing of this Motion.

14                                  STATEMENT OF ISSUES FOR RELIEF

15          Pursuant to Local Rule 7-2(b)(3), Defendants hereby seek an Order granting their motion for
16   summary judgment in Defendants' favor as it relates to the following issues:

17          ISSUE 1: That Planner 5D cannot establish ownership of a valid copyright or that it fulfilled the

18   statutory deposit requirement as a matter of law.

19          ISSUE 2: That Planner 5D failed to take reasonable measures to protect its alleged trade secrets

20   and thus it cannot establish the information constitutes trade secrets as a matter of law.

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 1   Dated: February 17, 2023               KIRKLAND & ELLIS LLP

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 1                            MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.     INTRODUCTION

 3          When Planner 5D first filed this action, it asserted (1) a copyright infringement claim despite the

 4   fact that it had not attempted to obtain a copyright registration from the U.S. Copyright Office and (2) a

 5   trade secret misappropriation claim without having explained how its alleged trade secrets "were not

 6   publicly available." Dkt. 52 at 16. 1 Now, nearly four years later, Planner 5D still cannot substantiate its
 7   bare-boned allegations with evidence. Indeed, discovery has confirmed that Planner 5D's works are data

 8   files that cannot be copyrighted as computer programs. They cannot be copyrighted as literary works as

 9   they lack human authorship, or as pictorial works because they lack originality. Discovery has also

10   confirmed that Planner 5D sought to avoid judicial scrutiny of the fact that its website actually made its

11   alleged trade secrets available to the public. With the benefit of that discovery, Defendants now jointly

12   move for summary judgment on all of Planner 5D's claims.

13          The vast majority of copyright cases involve copyrights that have been validated and registered by

14   the U.S. Copyright Office (the "Office") after submission of a proper application and deposit. This case is

15   unusual not only because Planner 5D's applications have been rejected by the Office, but also because
16   Planner 5D refused the Office's repeated requests that it comply with the deposit requirement by submitting

17   a "complete copy" of its work to the Office for examination. 17 U.S.C. § 408(b). Instead, Planner 5D

18   insisted that its works are "computer programs" to take advantage of the Office's unique rules for software,

19   which excuse applicants from the full-deposit requirement and instead permit submission of only a small

20   portion of "source code" as a deposit. Planner 5D' s avoidance of the deposit requirement prevented the

21   Office from recognizing that Planner 5D's works are unprotectable. And, Planner 5D was able to obscure

22   (and then repeatedly change) the works at issue in this case, prejudicing Defendants' ability to investigate

23   its allegations and build a defense.

24          Summary judgment is warranted on Planner 5D's copyright claims for two independent reasons.

25   First, Planner 5D has failed to comply with the deposit requirement and is therefore statutorily barred from

26   pursuing these claims. Section411(a) of the Copyright Act, 17 U.S.C. § 101 et seq., states that an applicant

27

28   1 Unless otherwise noted, citations to Docket Entries (Dkt. _) refer to entries on the docket for the initial
     action, No. 19 Civ. 03132.
                                                          1
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 1   whose registration has been refused may only bring a "civil action for infringement" if it first deposits its
 2   work with the Copyright Office "in proper form," 17 U.S.C. § 41 l(a), which ordinarily requires "complete
 3   copies" of each work asserted in the litigation, id. § 408(a). This requirement is a vital part of the copyright
 4   system: it forces the applicant to define the scope of the asserted work; it enables the Office to evaluate the
 5   work as so defined and provide its expert opinion as to the work's protectability; and it creates a reliable,
 6   permanent record of the claimed copyright. Cf Fourth Est. v. Wall-Street.com, 139 S. Ct. 881,887 (2019)
 7   (owner "must satisfy" requirements under§ 41 l(a) "before suing to enforce ownership rights"). Planner
 8   5D, however, has submitted only a small fraction of its works to the Office-e.g., only 50 pages of text of

 9   the digital files that underlie-out of the 3,719 Objects, as defined infra, it claims here. And while
10   this may be a deposit in "proper form" if the work is a "computer program," Planner 5D's works are
11   demonstrably not computer programs, as the Office has repeatedly explained. For that reason, Planner
12   5D's deposit was not in "proper form" and it cannot continue with-much less prevail on-this "civil
13   action for infringement." 17 U.S.C. § 41 l(a).
14          Second, Planner 5D has failed to establish ownership of a valid copyright interest for two

15   independent reasons. The first reason is that, setting aside Planner 5D' s evasion of the deposit requirement,
16   the works it did submit to the Office for registration are not human-generated 3D models, but rather
17   machine-generated text of data files, which are not protectable as "literary works" as they lack human

18   authorship. Moreover, even if they were protectable, that copyright interest would protect only the text in
19   the files themselves-not the Objects and Scenes that form the basis of Planner 5D's copyright
20   claims. This is no doubt part of the reason that Planner 5D has tried to register its works as "computer
21   programs," which are a unique category of copyrights that cover not only the registered "source code," but
22   also the visual outputs of that code. The second independent reason Planner 5D cannot establish ownership
23   is that Planner 5D's Objects are unprotectable because they are nothing more than replicas of real-world
24   furniture and other items and thus lack originality.
25          Summary judgment is also warranted on Planner 5D's trade secret misappropriation claims. For
26   nearly 40 years, courts have consistently held that when a plaintiff discloses information to others who are
27   under no obligation to keep it confidential, that information cannot be a trade secret as a matter of law.
28   That principle is dispositive here.

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 1           In the specific context of the Internet, an alleged trade secret is disclosed when it is made available
 2   to the public online. It is beyond dispute that Planner 5D made all its alleged trade secrets available to the
 3   public on its website before the alleged misappropriation occurred in February 2016. Indeed, Planner 5D
 4   has admitted over and over again that, using nothing more than a common web browser like Firefox or
 5   Chrome, users of its website in 2016 could access the web addresses, or uniform resource locators
 6   ("URLs"), at which each of Planner 5D's object and scene files were located. And once users had the
 7   relevant URLs, they could (1) access the underlying data files simply by entering the URLs into a browser
 8   and hitting "enter" and (2) download those files simply by right-clicking and selecting "save as." Nothing
 9   on Planner 5D's website prevented users from accessing or downloading any---or all---of Planner 5D's
10   alleged trade secrets in this way.
11           Further, discovery has confirmed that Planner 5D's Terms of Service were unenforceable as a
12   matter oflaw, leaving Planner 5D without any basis to claim its users had an obligation to keep anything
13   on its website confidential. It is undisputed that, in 2016, users could access and use Planner 5D's website
14   without-and acquire and download the alleged trade secrets-ever being required to review the Terms of
15   Service or indicate that they agreed to abide by them. Indeed, at that time, Planner 5D disclosed its Terms
16   of Service to its users only via an unadorned link at the bottom of some pages on its website. Under binding
17   Ninth Circuit authority, such disclosure is insufficient to create a contract enforceable against Planner 5D's
18   users. What's more, the Terms of Service did not even contain an express confidentiality provision.
19           Accordingly, Defendants are entitled to summary judgment on all of Planner 5D's claims.
20   II.     FACTUAL BACKGROUND

21           A.      Planner SD's Objects were created to resemble real-world furniture and other items

22           Planner 5D offers a web-based "user-friendly home design tool that allow[s] anyone to quickly and
23   easily create their own home, office, or landscape designs" (the "Tool"), accessible through its website at
24   https://www.planner5d.com/ (the "Website"). Dkt. 53 ,-i 30 ("TS Compl."); No. 20 Civ. 08261 Dkt. 1
25   ,-i,-i 2 7, 31 ("CR Compl. "). Using the Tool, people can create "realistic three-dimensional [interior designs]"
26   ("Scenes") with "three-dimensional .... lifelike models of furniture, appliances, plants, people, lighting,

27   or other objects that could occupy the interior or exterior of a digitally depicted room or structure"
28   ("Objects"). CR Compl. ,-i 6; see also CR Compl. ,-i 31. Planner 5D has never alleged that Defendants

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 1   ever copied the Tool; rather, Planner 5D's claims are based on alleged copying of the Scenes and Objects.

 2          Planner 5D created each Object to                                                    that "can be found

 3   in [the] real world" in order to enable users of its Tool to design their homes with "realistic, digitized"

 4   versions ofreal-world items, like IKEA furniture. Schmitt Deel. ir,[9-12;2 CR Compl. ,r 33. Planner 5D's
 5   "general practice" was to use one or more "reference images" of a real-world item to create a 3D model of

 6   that item using Blender, a free and open-source 3D modeling software. Schmitt Deel. ,r,r33-35, 45--46.

 7   Some Objects were created at the direction of furniture companies that hired Planner 5D to create 3D

 8   models of their products ("B2B Objects"), and those clients provided Planner 5D with images and

 9   specifications to enable the modelers to match their products                              Id ,r,r 84-99. The

10   remaining Objects were selected by Planner 5D (the "Non-B2B Objects"), and the "general practice" was

11   to find reference images from, for example, IKEA's website, with the same goal of replicating pre-existing

12   real-world items. Id. ,r33. See e.g., id.   ,r,r 37--41 (sofa from CB2), 42--44 (furniture from IKEA).
13          Planner 5D modelers would then "craft the three-dimensional Object while consulting and studying

14   [the reference] images,"

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17                                                                                            Id ,r,r 63-66, 69-70.

18   This work was done through Blender's interface, similar to how one might edit an image with Photoshop.

19   Id ,r,r 48, 52-53. It did not involve writing code. Id ,r 49.

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     2       Citations to the Declarations of Johanna Schmitt ("Schmitt Deel."), Dr. Daniel Lopresti ("Lopresti
27
     Deel."), Ryan McKamie ("McKamie Deel."), and Shuran Song ("Song Deel.") herein include the
28   enumerated paragraph numbers as well as the Exhibits cited in those paragraphs.
     3
            Hereinafter, all citations to "Ex._" are citations to the exhibits attached to the Schmitt Deel.
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     Schmitt Deel.~~ 60, 62; Ex. 46 at 1:14:11 (left image), 1:34:49 (right image).
 9
              The resulting Planner 5D Objects are identical to the corresponding real-world products, and often
10
     match the dimensions of the product to the centimeter, as shown in the examples below:
11    PSD Ob 'ect No.      Ima e of PSD Ob .ect    Ima e of Third-Part Product            Name of Product

12
                                                                                       IKEA URBAN Bar Stool
            s/425
13                                                                                       (SKU # 501.356.57)
       Diameter: 48
14      Height: 74
                                                                                          Diameter: 48 cm
                                                                                           Height: 74 cm
15

16                                                                                      IKEA NORDLI Chest
            s/2878
                                                                                          (SKU# 90272727)
17
        Length: 40
                                                                                           Length: 40 cm
18       Width: 48
                                                                                            Width: 48 cm
        Height: 125
                                                                                           Height: 125 cm
19

20   Schmitt Deel.~ 79. See also id. ~ 82 (depicting additional examples of comparisons to real-world products

21

22
23
     with matching dimensions)

              After an Object is modeled in the Blender interface                                     ...
24   1111    Lopresti Deel. ~ 20. Planner 5D then runs                           through a third-party script to

25   automatically convert it into JavaScript Object Notation ("JSON"), a data-interchange format that

26   facilitates the transfer of data between computer programs (the "Object Data Files"). Id.~~ 20, 48, 52-

27   53; see also Schmitt Deel. ~ 71.

28                                                                                                 Schmitt Deel.

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 1   ,r 71.
 2
 3            B.     Scenes were created by users of Planner 5D's home design Tool

 4            People use Planner 5D's Tool to create Scenes by selecting and placing Objects into virtual
 5   floorplans using the visual interface-not by writing code. CR Compl. ,r,r 31, 55; Schmitt Deel. ,r,r 19-20.
 6   When a Scene is complete, a user can decide whether to flag it for inclusion in Planner 5D's "public
 7   gallery" for anyone to view. Schmitt Deel.   ,r,r 21-22.
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10                                                                  CR Compl. ,r 48; Lopresti Deel. ,r,r 70, 71,
11   79.
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              C.
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27                                                                   A browser's cache is its temporary storage
28   area that saves copies of materials transmitted by a website to a browser when a user accesses a webpage.

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 1   McKamie Deel.    ,r 42;   Song Deel.   ,r 6 & n.2.
 2                                                                           Schmitt Deel. ,r 190. For example,

 3   if a webpage's design includes an image, the website may transmit a copy of that image to the cache the

 4   first time the user visits that webpage so that if the user visits the webpage a second time, a copy of the

 5   image will already be stored in the browser and can load more quickly. Song Deel.       ,r 6 n.2; McKamie
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 8          E.       In 2016, Planner 5D did not require its users to review or agree to its Terms of Service.

 9          At the relevant time period in 2016, see TS Compl.         ,r 40, Planner 5D's Terms of Service were a
10   classic "browsewrap" agreement. Users were not required to agree to (or even review) the Terms of

11   Service to enter Planner 5D's Website, and thus users could access and use the Website without ever

12   reviewing or agreeing to those Terms. Ex. 9 (ROG No. 6); Ex. 12 (RFA Nos. 90 & 92). Indeed, the person

13   who accessed and downloaded Planner 5D's alleged trade secrets in this case never saw the Terms of

14   Service on Planner 5D's Website. Song Deel. ,r 22.

15          The only notice Planner 5D provided to users of its Terms of Service was a hyperlink at the bottom

16   of various pages on the Website. Schmitt Deel. ,r 165; Ex. 12 (RFA Nos. 96 & 97). Users might be required

17   to scroll to the bottom of a page even to see that link. Exs. 82 & 83; Ex. 13 (RF A No. 95).

18          F.       Copyright Office's refusal to register Planner 5D's asserted works.

19          Planner 5D claims copyright in 3,719 Objects (the "Asserted Objects"). CR Compl. ,r 33; see also

20   Schmitt Deel.   ,r 15.   In addition, it claims copyright in the compilation of the -      Scenes on its public

21   gallery as of February 17, 2016 (the "Asserted Scene Compilation"). CR Compl. ,r 46; see also Schmitt

22   Deel. ,r 29. It also claims ownership of 18 individual Scenes in the Asserted Scene Compilation, which its

23   employees (not third-party users) allegedly created (the "Asserted Individual Scenes"). Schmitt Deel.          ,r
24   31.

25          After this Court's second dismissal of Planner 5D's copyright claims for failure to comply with the

26   Copyright Act's registration requirement, Dkt. 90, Planner 5D submitted two applications to the Office

27   seeking to register the Asserted Objects and the Asserted Scene Compilation on September 14, 2020. CR

28   Compl. ,r,r 95-97; see also Schmitt Deel.     ,r,r 118, 126; Exs. 26 & 27 (copyright applications).   Planner 5D

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 1   owns valid copyrights and trade secrets. See Jonathan Browning, Inc. v. Venetian Casino Resort LLC, 816

 2   F. Supp. 2d 793, 797 (N.D. Cal. 2009); Evans v. Presidio Trust, No. 19 Civ. 8025, 2019 WL 11270441, at

 3   *2 (N.D. Cal. Dec. 23, 2019). As a result, to prevail on summary judgment, "[Defendants] need only point

 4   out 'that there is an absence of evidence to support [Planner 5D's] case."' Olivier v. Baca, 913 F.3d 852,

 5   857 (9th Cir. 2019). The burden then shifts to Planner 5D to set forth "specific facts showing that there is

 6   a genuine issue for trial." Lowry v. City of San Diego, 858 F.3d 1248, 1255 (9th Cir. 2017). "The mere

 7   existence of a scintilla of evidence in support of [Planner 5D] 's position will be insufficient; there must be

 8   evidence on which the jury could reasonably find for [Planner 5D]." Anderson v. Liberty Lobby, Inc., 477

 9   U.S. 242,252 (1986).

10   IV.     SUMMARY JUDGMENT ON PLANNER SD'S COPYRIGHT CLAIMS IS WARRANTED

11          To establish a claim of copyright infringement, a plaintiff must establish "ownership of a valid

12   copyright." Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., Inc., 499 U.S. 340, 361 (1991). A registration

13   certificate "constitute[s] prima facie evidence of the validity of the copyright [interest]."         17 U.S.C.

14   § 410(c). But where, as here, the Office refuses to register an alleged copyright, the plaintiff "is not entitled

15   to the primafacie presumption[.]" Browning, 816 F. Supp. 2d at 796.

16          As the Office correctly determined after significant deliberation, Planner 5D's Asserted Objects

17   and Asserted Scene Compilation are not "computer programs," but rather are data files, and thus Planner

18   5D cannot rely on the Office's special deposit requirements for source code. As such, Planner 5D's

19   submission of only a fraction of the thousands of pages of text from the underlying data files was improper

20   and it failed to satisfy the statutory requirement that deposit be made in proper form before proceeding

21   with its claims.

22          Even putting that issue aside, Planner 5D cannot establish ownership of a valid copyright. As the

23   Office explained to Planner 5D, the works Planner 5D submitted are data files that were automatically

24   generated, not created by a human author, and therefore are unprotectable. Moreover, even if Planner 5D

25   could show that a human created the data files (which it cannot), any resulting rights would not extend to

26   the corresponding visual 3D models that form the basis of Planner 5D's copyright claim. Finally, Planner

27   5D's Objects were created as realistic facsimiles of pre-existing furniture and home decor items, which,

28   under binding Ninth Circuit law, are not protectable due to their lack of originality.

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 1          A.      The Office correctly concluded that the works are "data files," not "computer
                    programs."
 2

 3          As explained above, Planner 5D attempted to register its alleged works as "computer programs."

 4   However, the Office determined that the deposit materials Planner 5D submitted for examination were not

 5   computer programs because they did not contain any "source code" but "merely contain[ed] data, namely,

 6   a set of coordinates-to be used by a separate computer program in the rendering of a particular shape or

 7   shapes." See supra at 10. The Office was correct.

 8          To begin, the definition of a "computer program" in the Copyright Act is "a set of statements or

 9   instructions to be used directly or indirectly in a computer in order to bring about a certain result." 17

10   U.S.C. § 101. Courts have explained that a computer program must contain "instructions" that "tell[] the

11   microprocessor what to do." Atari Games Corp. v. Nintendo of Am., Inc., No. 88 Civ. 4805, 1993 WL

12   214886, at *4 (N.D. Cal. Apr. 15, 1993). These instructions "can be expressed in either source code or

13   object code." Syntek Semiconductor Co., Ltd v. Microchip Tech. Inc., 307 F.3d 775, 779 (9th Cir. 2002).

14   See also Lopresti Deel. ,r,r 29-31, 35.

15          Planner 5D' s works are not a set of instructions but instead are merely digital data files. Lopresti

16   Deel. ,r,r 4 7, 64. The law is clear that digital files are not computer programs merely because their contents

17   "can be represented" in some form of computer language. Atari, 1993 WL 214886, at *5. Rather, courts

18   must "distinguish between [language] that act[ s] as instructions for the microprocessor and [language] that

19   act[s] simply as data." Id 4 That distinction-between "program instructions and program data"-is "well-
20   recognized by computer scientists and implicitly acknowledged by Congress" in the statutory definition of

21   "computer program." Id at *4; see also Lopresti Deel. ,r,r 28, 39, 44. The mere fact that a digital file can

22   be expressed in a computer language does not qualify it as a "computer program." 5 Virtually all works are
23   reducible to digital form-whether they consist of text (e.g., a .TXT file), an image (e.g., P2 format of a

24

25   4 That distinction is also significant for the purposes of copyright law, as a computer program copyright
     "protects the instructions that cause a computer to bring about a certain result," whereas a visual arts
26
     copyright "protects the result." Action Tapes, 462 F.3d at 1013-14.
27   5 "Computer language" is a broad term that encompasses any language used to communicate with a
     computer. See Lopresti Deel. ,r 28 n.25. It includes subsets, e.g. ,programming languages (used to express
28   a computer program and which convey instructions to a computer), markup languages (used to convey
     formatting information), and data exchange languages (used to structure and communicate data). Id.
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 1   .PGM file), or any other kind of data storage format. Id

 2              The Office has made this distinction crystal clear. Its Compendium specifically distinguishes

 3   between "computer programs," which contain "instructions," and data files that are merely created to store

 4   information. Compendium 721.6. 6 The Compendium also explicitly recognizes that while applicants
 5   might use a variety of "file formats" to store and transmit their works-including, for example, "pdf,"

 6   "doc," "jpg," or "html," Compendium 1508.1-those files are not themselves registrable as computer

 7   programs, id 721.6; see also id 1006.l(A) ("The Office will not register HTML as a computer program

 8   because HTML contains only data regarding how to "format[] the text and files on a webpage"). As the

 9   Compendium explains:

10
                The fact that the author used a computer to write an article, short story, or other nondramatic
11              literary work does not mean that the work is a computer program. The fact that the author
                saved his or her work onto a hard drive, flash drive, thumb drive, CD-ROM, or other
12              electronic storage device does not mean that the work is a computer program.

13   The Office has reaffirmed that guidance in decisions of its Review Board, 7 which has held that "data files"
14   consisting of a "table of physical properties" that are "fed into a computer program" are not themselves

15   computer programs. LumenScript Refusal 4--7 (Mar. 16, 2017).

16              It is beyond dispute that the works Planner 5D submitted to the Office are data files. Lopresti Deel.

17   ,r,r 77-81.   Each of the works is organized according to JSON, which is a "data-interchange file format,"

18   not a programming language that can be used to instruct a computer to carry our specific operations. Id

19   ,r,r 48,   64--73

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23   ■ For this reason, the Copyright Office repeatedly explained to Planner 5D that the works at issue in this

24

25   6 The Compendium of U.S. Copyright Practices ("Compendium") is published by the Copyright Office to

26   "provide[] mstruction to agency staff regarding their statutory duties" and "expert guidance to copyright
     applicants, practitioners, scholars, the courts, and members of the general public regarding institutional
27   practices and related principles of law." Compendium at 2.
     7 The Review Board includes "the Register of Copyrights and the General Counsel [of the Copyri~ht
28   Office] or their respective designees" and its decisions on requests for reconsideration from registration
     refusals "constitute[] fmal agency action." 37 C.F.R. §§ 202.5(£), (g).
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 1   lawsuit are not "computer programs." See supra at 10.

 2           Indeed, Planner 5D admits that its works are data files, comparable to other data files, 8 like ".jpg"
 3   files for images. Lopresti Deel. ,r 82. Planner 5D's expert admitted during his deposition that JSON is not

 4   a "programming language."       Id   ,r   85.

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11                                                         Accordingly, in the Office's view, the Works are not

12   themselves computer programs.").

13           Planner 5D has proffered no evidence to prove its incorrect claim that its works qualify as

14   "computer programs." Thus, there is no basis for this Court to reverse the determination of the Office.

15   Browning, 816 F. Supp. 2d at 797 ("The [Office], and not the Court, has the expertise and experience to

16   make a determination based on its interpretation of its own guiding regulations as well as its own wealth

17   of experience."); see also Richlin v. Metro-Goldwyn-Mayer Pictures, Inc., 531 F.3d 962, 973 (9th Cir.

18   2008) ("[C]ourts should generally defer to the Register of Copyright's [] interpretation of the copyright

19   statutes.").

20
             B.     Because Planner 5D's alleged works are not "computer programs," Planner 5D failed
21                  to satisfy the pre-suit application-and-deposit requirement of Section 411(a).

22           The determination that Planner 5D's works are not computer programs forecloses Planner 5D's

23   copyright claims as a matter of law. It is well established that while "an author whose application for

24   copyright registration has been rejected may still enforce his rights in federal court, he may do so only if

25   he has actually submitted an application and a deposit copy" to the Copyright Office. Torres-Negron v. J

26

27
     8See e.g. CR Compl. ,r 45 ("Planner 5D also owns a much larger set of data files that define floor plans,
28   or 'scenes."'), ,r 52 (alleging "users always see objects and scenes only as rendered, never as data files");
     Lopresti Deel., 82.
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 1   & N Recs, LLC, 504 F.3d 151, 160 (1st Cir. 2007) (emphasis in original); see also 17 U.S.C. § 41 l(a)

 2   (action permitted only if "deposit, application, and fee required for registration have been delivered to the

 3   Copyright Office in proper form"). As the Supreme Court explained in Fourth Estate, the requirements of

 4   § 41 l(a) are "akin to an administrative exhaustion requirement that the owner must satisfy before suing to

 5   enforce ownership rights." 139 S. Ct. at 887. This is not an empty formality; rather, it is a critical "element

 6   of the 'quid pro quo' paid by authors and copyright owners for the benefits they enjoy as copyright

 7   proprietors." S. Rep. No. 352, 100th Cong., 2d Sess. 45 (1988); see also Skidmore v. Led Zeppelin, 952

 8   F.3d 1051, 1062-63 (9th Cir. 2020) (deposit serves to "make a record of the claimed copyright, provide

 9   notice to third parties, and prevent confusion about the scope of the copyright"); Torres-Negron, 504 F.3d

10   at 161-62 (deposit permits the Office ''to make an initial judgment about the validity of copyrights, based

11   on its experience and expertise, and to reduce the burdens of litigation").

12          For this reason, courts have repeatedly dismissed copyright claims when plaintiffs fail to deposit

13   the work "in proper form" prior to suit. See, e.g., Geoscan, Inc. v. Tex. v. Geotrace Techs., Inc., 226 F.3d

14   387, 393 ( 5th Cir. 2000) (affirming summary judgment to defendant because "although [plaintiff] had filed

15   an application, paid a fee, and made a deposit with the Copyright Office, the deposit was not a complete

16   copy of the original source code, thus [plaintiff] had not fulfilled[] the statutory formalities"); Kodadek v.

17   MTV Networks, Inc., 152 F.3d 1209, 1212 (9th Cir. 1998) (affirming summary judgment to defendant

18   where plaintiff had failed to submit a "copy" of the asserted work as a deposit, which "foreclosed" an

19   "infringement action" based on that work). As Judge Lipez explained in Torres-Negron, the deposit

20   requirement "would be undermined if [an] [] invalid [deposit] could provide a plaintiff entree to the federal

21   courts and, once the defect was discovered, the litigation was allowed to continue without the benefit of

22   the[] Office's expertise and consideration." 504 F.3d at 162. 9
23          Whether a "deposit" has been delivered "in proper form" depends upon the type of work at issue.

24   "As a general rule, the applicant must submit a complete copy or copies ofthe work [as a deposit] to register

25

26
     9 Torres-Negron held that failure to satisfy Section 411 's deposit requirement was a jurisdictional defect.
27   See 504 F.3d at 161-62. That holding was overruled by the Supreme Court's decision in Reed Elsevier,
     Inc. v. Muchnick, 559 U.S. 154, 170 (2010). But while the Court in Reed held that Section 411 was not
28   jurisdictional, it left open whether that section's requirements are "mandatory precondition[s] to suit." Id.
     at 171. The Court later answered that question in the affirmative in Fourth Estate, 139 S. Ct. at 887.
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 1   a claim to copyright." Compendium 204.3 (emphasis added); see 17 U.S.C. § 408(b) (requiring "complete

 2   copies").   The Office, however, is statutorily authorized to "grant special relief from the deposit

 3   requirements" for particular "classes" of works. Compendium 1508.8(A); see also 17 U.S.C. § 408(c)(l).

 4   The Office's rules for computer programs, for example, permit an applicant to register such a work by

 5   submitting only excerpts-e.g., the first and last 25 pages-of source code as a deposit. 37 C.F.R.

 6   § 202.20(c)(2)(vii). Thus, while a deposit of excerpts of a copyrighted work may be a deposit "in proper

 7   form" if the work is a "computer program," the same deposit would be insufficient if the work at issue fell

 8   into a different category. Cf Action Tapes, Inc. v. Mattson, 462 F.3d 1010, 1013-14 (8th Cir. 2006)

 9   (registration in one category does not establish registration in another category where application

10   procedures and deposit requirements are different).

11          Planner 5D attempted to register the works in this lawsuit as two "computer programs," and alleges

12   that its "objects" and "public gallery scenes" are two "computer programs." CR. Compl.             ,r   96; see

13   generally ,r,r 95-102 (relying on its "computer program" application to prove "[e]ntitlement to a [c]ivil

14   [a]ction [u]nder 17 U.S.C. § 41 l(a)"). But, as discussed above, the Copyright Office correctly and

15   repeatedly held, those works are not computer programs. Because Planner 5D did not comply with the
16   proper procedures for registering its works in the proper categories-i. e. as visual works or compilations-

17   it has failed to submit a "deposit" in "proper form" and therefore cannot proceed with this "civil action for

18   infringement." 17 U.S.C. § 41 l(a).

19
            C.      Planner 5D's attempt to register its works as "computer programs" enabled it to
20                  avoid the Act's application-and-deposit requirements.

21          Planner 5D' s insistence that these works are computer programs in the face of both controlling case

22   law and administrative guidance to the contrary allowed it to circumvent mandatory administrative review

23   and gave it a litigation advantage. Endorsing this approach would create an untenable loophole in the

24   registration system by permitting a putative copyright owner to reduce any copyrightable work into a

25   digital file and apply to register it as a "computer program," thereby invoking the Copyright Office's

26   special procedures for deposit of computer programs. The Court should not sanction it here.

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 1                  1.      Planner 5D's attempt to register the works as "computer programs" enabled it to
                            argue that it need not submit full deposit copies.
 2

 3          The works Planner 5D claims in this lawsuit are properly characterized as either "[p]ictorial,

 4   graphic, and sculptural works" ("PGS works") or as "compilations."              First, Planner 5D alleges

 5   misappropriation of"hand-crafted, digitized, and realistic three-dimensional [O]bjects and [S]cenes." CR

 6   Comp1. ,r 6. As such, those works fall within the Copyright Act's definition of "[p]ictorial, graphic, and

 7   sculptural works" (or "PGS" works), a category defined to encompass all "three-dimensional works of

 8   fine, graphic, and applied art" including "diagrams," "models," and "technical drawings." 17 U.S.C. § 101.

 9   For that reason, applicants seeking to register similar 3D models do so by registering their works as "Visual

10   Material." See, e.g., Ex. 53 (copies ofregistration certificates for 3D model works). Second, -
11                                                                                           Schmitt Deel.   ,r 32.
12   As such, that work falls into the Act's definition of a "compilation," i.e. "a work formed by the collection

13   and assembling of preexisting materials or of data that are selected, coordinated, or arranged in such a way

14   that the resulting work as a whole constitutes an original work of authorship." 17 U.S.C. § 101.

15          Registration of PGS works and compilations requires submission of a full deposit copy embodying
16   "all the authorship that the applicant intends to register." Compendium 504. As such, registering its

17   claimed Objects and Scenes as a PGS work would have required Planner 5D to submit copies of each

18   Object and each Scene to the Office for examination. Id at 1506 (for three-dimensional visual works,

19   applicant required to submit "photographs taken at every angle of the [work]"). And registering its

20   Asserted Scene Compilation would have required Planner 5D to submit as a deposit the full compilation-

21   including each component element-so that the Office's examiners could determine whether "selection,

22   coordination, and/or arrangement authorship is[] demonstrated." Id at 618.6.

23          Planner 5D's baseless assertion that its works are "computer programs" allowed it to evade these

24   requirements by invoking the Copyright Office's special rules for deposits of computer programs, which

25   permit applicants to submit only the "first and last 25 pages" of "source code" as a deposit. 37 C.F.R.

26   § 202.20(c)(2)(vii)(A)(2); see supra at 10. By doing so, it was able to avoid disclosing the full scope and

27   extent of its claimed works. See Compendium 504.2 (rules for deposit copies in computer programs are a

28   "limited exception[]" to the rule that "a registration for a work of authorship only covers the material that

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 1   is included in the deposit copy[]").

 2          Indeed, Planner 5D has repeatedly dodged any attempt to nail down the precise works that form the

 3   basis of this litigation, which have been a moving target since the start of this case. Planner 5D, for

 4   example, initially claimed a compilation o f - Scenes and was unable to point to any Scenes that it

 5   removed from its public gallery. Schmitt Deel.    ,r,r 150--51.   Then, a day before the end of the previously

 6   scheduled deadline for fact discovery on August 31, 2022, and more than three years after Planner 5D first

 7   initiated this suit, Planner 5D revised its claim to state that its Scene Compilation consists o ~ Scenes,

 8   and that it could identify Scenes removed from its public gallery. Id.        ,r,r   153-155. This hide-the-ball

 9   strategy has prejudiced Defendants' ability to build their case and has drastically complicated and extended

10   discovery. It also mirrors a tactic used by trade secret plaintiffs, who often refuse to define their trade

11   secrets at the outset of the case, thereby prejudicing the defendants, complicating the litigation, and

12   incurring disfavor from courts. Sit-Up Ltd. v. IAC/InterActiveCorp., No. 05 Civ. 9292, 2008 WL 463884,

13   at *9 (S.D.N.Y. Feb. 20, 2008) (criticizing plaintiffs "resistance to explaining fully the basis for its trade

14   secret claim" as a "Dance of the Seven Veils approach"). And it is precisely the kind of prejudice and

15   complication that the Copyright Act's deposit requirement is designed to avoid. Skidmore, 952 F.3d at

16   1062-63 (deposit requirement functions to "prevent confusion about the scope of the copyright").

17
                    2.      Planner 5D's attempt to register the works as "computer programs" permitted
18                          Planner 5D to hide the true nature of its Objects from the Office.

19          Had Planner 5D sought to register its Objects in the appropriate category-as PGS works-it would

20   have been required to submit the models themselves as a deposit "in a form that is visually perceptible

21   without the aid of a machine or device." Compendium 1509.3(C); see also id. at 1506 (for three-

22   dimensional visual works, applicant required to submit "photographs taken at every angle of the [work]").

23   Doing so, however, would have revealed to the Office that the Objects are all uncopyrightable models of

24   pre-existing furniture and other home decor items. Compendium 313.4(A) (Office will refuse registration

25   of a "replica of a ... useful article"); infra at 23-27 (Objects lack originality). This would have been

26   particularly obvious given that Planner 5D would have had to disclose that it had created these models by

27   copying, for example, images from furniture stores' websites. Compendium 923.2 (requiring applicant to

28   "provide a clear description of the creative authorship that the author contributed to [any 3D] model"

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 1   sufficient to "distinguish the model from the object depicted").
 2          By attempting to register its works as "computer programs," however, Planner 5D was able to
 3   submit its application without presenting the Office with visual representations of the Objects themselves.
 4   Instead, Planner 5D submitted only a portion of the text from the underlying JSON data files-preventing

 5   the Office from seeing what the Objects looked like. See Schmitt Deel. ,r,1123, 133. Planner 5D was also
 6   able to avoid disclosing to the Office that its Objects were based on pre-existing material, as required on
 7   the application, a fact it was forced to admit during discovery. Id.   ,r,r 33-35; Ex. 26 (Objects copyright
 8   application). This minimized the risk that the Office would issue refusal letters that would doom Planner
 9   5D's litigation position, and prejudiced defendants by depriving this Court of"the benefit of the Copyright
10   Office's expertise and consideration." Torres-Negron, 504 F.3d at 162.
11
                    3.     Planner 5D's attempt to register the works as "computer programs" allowed
12                         Planner 5D to obscure the nature of its Asserted Scene Compilation.
13          Applying to register its Asserted Scene Compilation as a compilation would have also required that
14   Planner 5D disclose the "preexisting material ... that appears in the compilation" and "specifly] whether
15   [it] selected, coordinated, and/or arranged that material or data." Compendium 618.6.
16


18   2020, Planner 5D was unable to even determine the total number of Scenes it "selected" to include in its
19   compilation. Indeed, at the outset of discovery, on December 17, 2021, Planner 5D claimed there were

20   -      Scenes in the compilation, and at the end of discovery, on August 30, 2022, it changed that number
21   t o - Scenes. Schmitt Deel. ,r,r 150, 153. Relatedly, Planner 5D was unable to identify any Scenes it
22   allegedly "selected" to exclude from the compilation until the end of fact discovery. Id.      ,r,r 151,   154.

23   Moreover, Planner 5D would have been forced to disclose to the Office that all but 18 of the Scenes were
24   user-generated, and to expressly disclaim ownership of those user-generated Scenes. Compendium 618.6.
25          Planner 5D sidestepped all of these requirements by claiming that the entire public gallery of Scenes
26   was a single "program" of its own creation. In so doing, Planner 5D withheld critical information about
27   the scope and basis for its claim of authorship in the Asserted Scene Compilation. This also enabled

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 1   Planner 5D to delay and obfuscate whether it claimed ownership in each of the user-generated Scenes. 10
 2
                    4.      Planner 5D's attempt to register the works as "computer programs" allowed it to
 3                          take improper advantage of the Office's rules for trade secrets in source code.

 4          Attempting to register the works at issue as "computer programs" also permitted Planner 5D to

 5   avail itself of the Office's special rules providing additional confidentiality protection for "computer

 6   programs" that contain "trade secret material."            Compendium 1509.l(F)(4)(b); 37 C.F.R. §

 7   202.20(c)(2)(vii)(A)(2). Those rules-which only apply if the work at issue is a "computer program"-

 8   permit the applicant to "block[] out" material from its deposit copy.        Compendium 1509.l(F)(4)(b).

 9   Planner 5D took full advantage of these rules by blocking out entire pages of text from its (already

10   excerpted) deposit copies. Schmitt Deel. ,r,1123, 133-134. This further obscured and confused the nature

11   and scope of its claimed works, thereby complicating this litigation. Cf Skidmore, 952 F .3d at 1062-63

12   (deposit requirement functions to "prevent confusion about the scope of the copyright"). It also permitted

13   Planner 5D to maintain its claim that its works contain trade secrets-which they do not, as explained

14   below. See infra at 27-31.

15
            D.      Permitting Planner SD to proceed with this suit would render the Act's application-
16                  and-deposit system meaningless.

17          As discussed above, Planner 5D adamantly refused the Office's numerous requests for Planner 5D

18   to comply with the appropriate procedures, knowing that compliance with the appropriate registration

19   procedures would harm its litigation position. This is an abuse of the Office's special rules for computer

20   programs and, if sanctioned, would up-end the entire application-and-deposit system. See Skidmore, 952

21   F.3d at 1062-63; S. Rep. No. 352, 100th Cong., 2d Sess. 45 (1988). It would also obviate the Copyright

22   Office's detailed procedures for group registration, which permit registration of a "group of related works"

23   in one application in narrow circumstances. Compendium 511 (explaining "limited exceptions" to the

24   "One Work Per Registration" rule); id at 1105.1 & 1105.2 (addressing group registration generally); see,

25   e.g., id. at 1112 (explaining eligibility requirements for group registration of databases). Because virtually

26

27   10Planner 5D has claimed-both to this Court and to the Copyright Office-that it "owns" thousands of
     "scenes" de ictin "household and office desi ns." CR Com ,1. 6.
28

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 1   all copyrightable works are capable of reduction into a data file-whether TXT files or JSON files-

 2   Planner 5D's approach would mean that registrants could simply combine hundreds of literary or visual

 3   works into a data file, claim it as a "computer program," and submit only a sample of that file as a deposit

 4   copy. That would permit litigants with weak substantive arguments about the copyrightability of their

 5   alleged works to do exactly what Planner 5D has done here: file a lawsuit based on the Office's refusal to

 6   register a copyright, hope the court permits the claim to proceed past summary judgment, and use the

 7   prospect of trial to extract an unjustified settlement. Further, it would achieve this result while also

 8   avoiding any kind of substantive review by the Office's examiners-all while maintaining the ability to

 9   claim compliance with the registration requirement. This Court should not endorse that kind of end-run

10   around the Copyright Act, the Copyright Office's procedures and regulations, and the U.S. Supreme

11   Court's opinion Fourth Estate.

12          E.      Planner 5D failed to comply with Section 411 and thus its claims cannot proceed

13          Planner 5D has not deposited any of its claimed works "in proper form." 17 U.S.C. § 41 l(a). 11
14   None of the Objects or Scenes that Planner 5D claims have been submitted to the Office in "visually

15   perceptible" form. Compendium 1509.3(C). Planner 5D's deposit for the Asserted Objects application

16   includes text files for only                             of the 3,719 Objects Planner 5D claims in this suit,

17   and it has made no attempt to deposit the remaining Objects with the Office in any form, JSON or

18   otherwise. Schmitt Deel. ,r,r 15, 125. And while Planner 5D claims to own the Asserted Scene Compilation

19   consisting o f - Scenes, as well as 18 of the individual Scenes therein, its deposit only includes ■



21   This was not a bona fide attempt to register and deposit a compilation, any more than submitting the first

22   two pages of the "A" section of a phone book would suffice to register a compilation copyright in the entire

23   phone book. Cf 17 U.S.C. § 101 (copyright in "compilation" depends on consideration of the work "as a

24   whole"); Rudnicki v. WPNA 1490 AM, 5 80 F. Supp. 2d 690 (N .D. Ill. 2008) (explaining that plaintiff "was

25

26
     11 While the Office stated in its November 16, 2020 correspondence that Planner 5D had complied with
27   the "proper form" required "for registration of[] computer programs," Dkt. 112 at 3 (quoting Dkt. 1 Ex.
     A), the Office did not state that Planner 5D had complied with the deposit requirement for any other type
28   of work, e.g., a visual work, which would have first required deposit of the "complete" work in a "visually
     perceptible" form. Ex. 23 at P5D-0065371. See 17 U.S.C. § 408(b); Compendium 1509.3(C).
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 1   required to deposit one complete copy ... of each [work] in order to register" and that because plaintiff

 2   "included [only] six broadcasts as a representative sample" with application, registration covered only

 3   those six broadcasts in litigation).

 4           Because Planner 5D was not entitled to avail itself of the Office's procedures for "computer

 5   programs," see supra at 12-14, and because Planner 5D has made no attempt to deposit its works "in proper

 6   form" for the actual types of works involved, it cannot bring a "civil action for infringement" based on

 7   those works. 17 U.S.C. § 41 l(a). For that reason alone, summary judgment is warranted on Planner 5D's

 8   copyright claims. Action Tapes, 462 F.3d at 1013-14 (registration in one category does not establish

 9   registration in another category for purposes of 17 U.S.C. § 41 l(a) where deposit requirements differ); see

10   also supra at 15 (citing cases affirming summary judgment where plaintiff failed to submit proper deposit).

11           F.      Planner 5D cannot establish ownership of a valid copyright.

12                   1.      The JSON data files Planner 5D sought to register are not protectable because they
                             lack human authorship.
13
             Planner 5D's claims also fail for the independent reason that the works it sought to register-the
14
     text of data files in JSON format-are not protectable as a "literary work" because the text was not "human-
15
     written." Circular 66 at 3. 12 While Planner 5D's employees may have created the visual models of the
16
     Objects (and the 18 Asserted Individual Scenes), Planner 5D made no attempt to register those models,
17
     which would have required submitting "renderings of the work[ s] in a form that is visually perceptible
18
     without the aid of a machine or device." 37 C.F.R. § 202.21 (deposit requirements for visual works).
19

20   -              Schmitt Deel.   ,r,r 25, 71,   122, 132, Ex. 26 at P5D-0065414--63 (deposit copy for Objects
21
     application); Ex. 27 at P5D-0065467-516 (deposit copy for Scenes application). As such, the JSON files
22
     are works "produced by a machine or mere mechanical process that operates ... automatically" and thus
23   are not works of authorship subject to copyright protection. Compendium 313.2; see also id at 721.6
24   ("[W]hen a work is created with a computer program, any elements of the work that are generated solely
25

26
     12 "Circulars provide Copyright Office guidance on various issues." ABS Ent., Inc. v. CBS Corp., 908 F.3d
27   405,417 n.5 (9th Cir. 2018); see also Pollstar v. Gigmania, Ltd, 170 F. Supp. 2d 974,979 (E.D. Cal.
     2000) ("Copyright Office Circular 66 is 'generally known' and 'capable of accurate and ready
28   determination by resort to sources whose accuracy cannot reasonably be questioned' because it is contained
     in the United States Copyright Office.")
                                                             22
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 1   by the program are not registrable."). 13 The Office raised precisely the same objection in response to
 2   Planner 5D's applications, noting that "it is clear that the data contained within the deposit material was

 3   generated by a third-party program" because "[t]he metadata specifically states that this data was generated

 4   by Blender 2.62 Exporter." Schmitt Deel. ,r 137. Because the works at issue are automatically generated

 5   JSON files, none are works of human authorship falling within the scope of the Copyright Act. Thus, any

 6   claim in the JSON text files should be dismissed.

 7          Moreover, even if the text of the JSON data files was authored by a human (which it is not), Planner

 8   5D's claims would be limited to the text-and would not extend to the visual models, which Planner 5D

 9   made no attempt to register. Compendium 721.1 0(A) (noting that a copyright in a data file "does not cover

10   any of the content that may appear" as a result of the use of that data file unless the applicant "expressly

11   asserts a claim in that material"); Compendium 1006.1 (A) (protection for "human-written portions" of the

12   data file itself does not cover the output that results from reading the data file). This is one of the critical

13   distinctions between copyrights in computer programs, which encompass both the registered code and

14   "screen displays generated by that program," and the copyrights in other kinds of literary works, which

15   encompass only the content of the work itself. Compendium 721.1 0(A). Accordingly, to the extent Planner

16   5D's claims are based on infringement of the Objects and Scenes themselves-rather than the text of the

17   data files-those claims should be dismissed. See Ward v. Barnes & Noble, Inc., 93 F. Supp. 3d 193, 204

18   (S.D.N.Y. 2015) (granting summary judgment to defendant on portion of claim based on illustrations in

19   book when registration was limited to "text").

20
                    2.      The Objects are 3D models of pre-existing furniture and other real-life objects and
21                          lack originality.

22          As this Court recognized when it dismissed Planner 5D's original copyright claims, copying a pre-

23   existing design-either from a 2D image or a 3D product-and converting it into a 3D model (like Planner

24

25
     13See also Urantia Found. v. Kristin Maaherra, 114 F.3d 955, 957-59 (9th Cir. 1997) (authorship requires
26   "some element of human creativity"); Kelley v. Chicago Park Dist., 635 F.3d 290, 304 (7th Cir. 2011)
     ("Authorship is an entirely human endeavor"); Copyright Review Board, Second Request for
27   Reconsideration for Refusal to Register A Recent Entrance to Paradise at 3-5 (Feb. 14, 2022) (reaffirming
     that only works of "human authorship" are protectable by the Copyright Act) (the "Thaler Opinion");
28   Copyright Office, Copyright Registration of Websites and Website Content at 3 (Circular 66) (noting that
     only "the human-written portions of' an HTML file are registrable as literary works).
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 1   5D did to create its Objects) may require effort and technical skill, but it does not result in original

 2   expression that is entitled to copyright protection. Dkt. 52 at 13 ("Planner 5D's conten[tion] that it spent

 3   time, money and effort to make their objects ... does not necessarily allege that any creative expression

 4   was added into the renderings ofreal-life objects .... [T]he 'sweat of the brow' approach does not establish

 5   originality or creativity"); see also Feist, 499 U.S. at 359-60 ("[O]riginality, not 'sweat of the brow,' is

 6   the touchstone of copyright protection"); Meshwerks, Inc. v. Toyota Motor Sales US.A., Inc., 528 F.3d

 7   1258, 1264-65 (10th Cir. 2008) (Gorsuch, J.) ("digital wire-frame models" that are "copies of' car designs

 8   not protectable for lack of originality); Compendium 923 .1.

 9          In Entertainment Research Group, Inc. v. Genesis Creative Group, Inc., for example, the Ninth

10   Circuit found that creation of costume designs based on pre-existing characters was insufficiently original

11   to justify protection-even though "figuring out how to transform the [2D] characters into [3D] costumes"

12   required "a lot of thought and effort" and involved "creative decisions" relating to, for example, how to

13   design the "texture of the costumes" to reflect the source material. 122 F.3d 1211, 1222-23 (9th Cir. 1997).

14   Critically, the Ninth Circuit explained that each allegedly "artistic" decision "stemmed from functional

15   considerations" from transferring the source material into a new medium, and that any differences "should

16   not be considered by a court in determining whether sufficient artistic differences exist to constitute

17   'originality."' Id.; see also Dkt. 52 at 13 (rejecting Planner 5D's argument that "its website reveals 'hand-

18   crafted' objects with various colors, textures, features and embellishments" as "not enough" to survive a

19   motion to dismiss; Planner 5D must show "more than the time and effort that went into making the three-

20   dimensional objects"). 14
21          Like the costumes in Genesis Creative, discovery has shown that Planner 5D created its Objects to

22   be realistic facsimiles of pre-existing items, and side-by-side comparisons of the Objects and the

23

24
     14See also ATC Distribution Grp, Inc. v. Whatever It Takes Transmissions & Parts, Inc., 402 F.3d 700,
25   712 (6th Cir. 2005) (catalog of"hand-drawn sketches of transmissions parts, copied from photographs cut
     out of competitors' catalogs" not protectable because sketches were "intended to be as accurate as
26   possible ... a form of slavish copying that is the antithesis of originality"); Durham Indus., Inc. v. Tomy
     Corp., 630 F.2d 905, 910 (2d Cir. 1980) ("[T]he mere reproduction of the Disney characters in plastic,
27   even though the adaptation of the preexisting works to this medium undoubtedly involved some degree of
     manufacturing skill, does not constitute originality ... "); Compendium 923 .1 ("The copyright law does not
28   protect models that are exact replicas of the source work, regardless of how much skill or labor was
     involved in creating the work.").
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 1   corresponding real-world products show that Planner 5D did not add any creative expression. Thus, the

 2   Objects are not protectable.

 3                            a.    Most Objects were created by copying images ofpre-existing items.

 4          Planner 5D admits that the vast majority (~90%) of its Objects were created by "consulting and

 5   studying" reference images of furniture and other home decor items. Schmitt Deel., 33. Indeed, Planner

 6   5D trained its modelers to trace and copy the reference images exactly. See supra at 3-5. Furniture

 7   companies that hired Planner 5D to create 3D models of their products provided reference images and other

 8   product specifications
 9                                                   Schmitt Deel., 85; see also id. , 84--91; Genesis Creative,

10   122 F.3d at 1223 ("[B]ecause ERG followed detailed instructions from its customers regarding exactly

11   how they wanted the costumes to appear, it cannot be said that ERG's artistic contributions were more than

12   merely trivial contributions."); Meshwerks, 528 F.3d at 1268-69 ("intent" to "copy" pre-existing designs

13   "rather than to create, or even to add, any original expression" supports finding that the copies are not

14   protectable). Indeed, side-by-side comparisons demonstrate that each of the B2B Objects look identical to

15   the corresponding client product, as exemplified below:

16    PSD Ob"ect No.                                                              B2B Client and Source of Image

17                                                                                         Cosmorelax

18        s/ 1709                                                                http://www.cosmorelax.ru/catalog/
                                                                                 Podvesnyye/jl7b_podvesnoy_sveti
19                                                                                             lnik/

20

21
                                                                                               Riter
22        s/ 1739
                                                                                         http://www.riter-
23                                                                                     com.ru/base/node/278

24
     Schmitt Deel. , 105, Ex. 49 (summary chart of side-by side comparisons of each of the 113 Objects
25
     identified by Planner 5D as B2B Objects).
26
            Similarly, Planner 5D admits that its "general practice" to create Non-B2B Objects was for its
27
     modelers to study reference images of furniture and other items found onlin~ither from URLs to listings
28

                                                        25
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 1   on retail websites that Planner 5D provided to modelers or by asking modelers find images themselves

 2   through Internet searches. 15 Schmitt Deel.    ,r,r 33-44.
 3

 4

 5



 7   have records of the websites visited by the modelers for creation of Objects during the relevant time frame,"

 8   id.   ,r 73, a side-by-side comparison of images of products that Defendants were able to find independently
 9   on IKEA's and other retailers' websites show that the resulting Non-B2B Objects look virtually identical

10   to the corresponding furniture and other home decor items, as exemplified below:

11    P5D Object No.        Image of P5D Object     Image of of Third-Party Product        Name of Product

12
                                                                                        IKEA PS 2014 Wardrobe
             s/2796
13                                                                                        (SKU # 002.603 .09)
           Length: 60
14                                                                                           Length: 60 cm
           Width: 101
                                                                                             Width: 101 cm
           Height: 187
15                                                                                           Height: 187 cm

16                                                                                      IKEA BOLMEN Step Stool
             s/2940
                                                                                           (SKU # 902.913 .30)
17
           Length: 44
                                                                                             Length: 44 cm
18         Width: 35
                                                                                             Width: 35 cm
           Height: 25
                                                                                             Height: 25 cm
19

20                                                                                      La Lune Collection Rustic
             s/2263
                                                                                             Rocking Chair
21
           Length: 102
                                                                                             Length: 102 cm
22          Width: 64
                                                                                              Width: 64 cm
           Height: 122
                                                                                             Height: 122 cm
23

24

25
     See supra at 5; Schmitt Deel.    ,r,r 72, 80, 82, Ex. 50 (summary chart of side-by-side comparisons for 981
26
     15 Planner 5D made no attempt to contact or obtain permission from the owners of the items or of the
27   images. Schmitt Deel. ,r,r 112-114 To the extent that Planner 5D created its Objects based on copyrighted
     reference material without obtaining permission from the owners, those Objects are not protectable. 17
28   U.S.C. § 103(a) ("[P]rotection for a work employing preexisting material in which copyright subsists does
     not extend to any part of the work in which such material has been used unlawfully.").
                                                            26
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 1   Non-B2B Objects). 16
 2          Given that the Objects look virtually identical to the corresponding reference images, "no

 3   reasonable juror could conclude that there are any non-trivial artistic differences sufficient to justify a

 4   finding of protectable originality." Genesis Creative, 122 F.3d at 1223 (creation of costumes based on

 5   images not original); see also Meshwerks, 528 F.3d at 1260--61 (creating realistic models of pre-existing

 6   objects "based on photographs" is insufficient to justify copyright).

 7
                            b.        Planner 5D has not identified the small subset ofObjects allegedly created
 8                                    without a reference image.

 9          Planner 5D claims that "roughly 10%" of its Objects were created "without reference to an

10   inspirational image" and simply out of "imagination," but refused to identify them from among the 3,719

11   Objects. Schmitt Deel.      ,r 115.   As such, this Court has no information as to which of the thousands of

12   Objects were independently created (if any), and Defendants were unable to investigate the process of

13   creating those particular Objects to test whether they are in fact original. Thus, Planner 5D failed to meet

14   its burden that any ofits Objects contain original expression. See Patel Burica & Assocs., Inc. v. Lin, No.

15   19 Civ. 1833, 2019 WL 6954256, at *3 (C.D. Cal. Dec. 19, 2019) (dismissing copyright claims due to

16   plaintiffs failure to identify with "specificity" the allegedly infringed works).

17   V.     SUMMARY JUDGMENT ON THE TRADE SECRET CLAIMS IS WARRANTED.

18          It is well-established that no trade secret can exist when "an individual discloses his trade secret to

19   others who are under no obligation to protect the confidentiality of the information." Ruckelshaus v.

20   Monsanto Co., 467 U.S. 986, 1002 (1984). This is axiomatic; to own a trade secret, the information must

21   be kept secret. That simple and indisputable proposition dooms Planner 5D's claims for trade secret

22   misappropriation.

23

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25   16 For those Objects that Planner 5D did not identify and produce reference images in discovery, it cannot
     meet its burden of establishing that any of these Objects contain original expression (as opposed to being
26   slavish copies of the real-world items like the others for which reference images were identified by
     Defendants). See Compendium 923.1 (determining whether model is protectable depends on whether it
27   "contains some original differences from the object depicted"); see also Bespaq Corp. v. Haoshen Trading
     Co., No. 04 Civ. 3698, 2004 WL 2043522, at *2 (N.D. Cal. Sept. 13, 2004) (denying injunction because
28   plaintiff failed to explain what "elements it has added to its miniature furniture that were not otherwise
     present in preexisting full-size furniture pieces").
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 2   those users were under no obligation to maintain the confidentiality of any information Planner 5D

 3   transmitted to them because, at the relevant time, Planner 5D's Terms of Service constituted the type of

 4   "browsewrap" agreement that is unenforceable. And even if enforceable, those Terms of Service did not

 5   expressly require confidentiality. Accordingly, Defendants are entitled to summary judgment as to Planner

 6   5D's federal and state law claims for trade secret misappropriation as a matter oflaw.

 7          A.      Trade secrets cannot exist in the face of disclosure without confidentiality.

 8          To pursue a claim under either the federal Defend Trade Secrets Act ("DTSA") or California's

 9   Uniform Trade Secrets Act ("CUTSA"), a plaintiff must, among other things, exercise reasonable efforts

10   to maintain the secrecy of its alleged trade secrets. See 18 U.S.C. § 1839(3); Cal. Civ. Code§ 3426.l(d). 17
11   This requirement "codifies [the] common law," Am. Home Shield of California, Inc. v. Fid Nat. Home

12   Warranty Co., No. D039241, 2003 WL 21085278, at *3 (Cal. Ct. App. May 14, 2003), which for at least

13   40 years has made clear that a plaintiff loses trade secret protections when it "discloses [its] trade secret to

14   others who are under no obligation to protect the confidentiality of the information." In re Providian Credit

15   Card Cases, 96 Cal. App. 4th 292, 304 (Cal. App. 2002) (quoting Ruckelshaus, 467 U.S. at 1002); see also

16   Nextdoor.com, Inc. v. Abhyanker, No. 12 Civ. 5667, 2014 WL 1648473, at *8 (N.D. Cal. Apr. 23, 2014)

17   (same); World Resorts Int'/, LLC v. Interval Int'/, Inc., No. 12 Civ. 6847, 2014 WL 12567170, at *4 (C.D.

18   Cal. Aug. 22, 2014) (same); Restatement (First) of Torts§ 757 (1939) (similar). In other words, a trade

19   secret plaintiff who discloses its alleged trade secret to individuals without legally binding those individuals

20   to an obligation of confidentiality has not taken reasonable measures to protect that alleged secret as a

21   matter oflaw. See HiRel Connectors, Inc. v. United States, No. 01 Civ. 11069, 2006 WL 3618011, at *8

22   (C.D. Cal. Jan. 25, 2006); Altavion, Inc. v. Konica Minolta Sys. Lab., Inc., 226 Cal. App. 4th 26, 57-59

23   (Cal. App. 2014).

24           The same standard applies in the particular factual context of a plaintiff who discloses its alleged

25   trade secret on the Internet. See Socia/Apps, LLC v. Zynga, Inc., No. 11 Civ. 4910, 2012 WL 381216, at

26

27   17 Pursuant to the Court's bifurcation order, this motion addresses only the reasonable measures element
     of Planner 5D's trade secrets claim. Order re Bifurcation and Case Schedule at 1, ECF No. 182. Should
28   that claim survive this motion in whole or in part, Defendants reserve all rights to argue that Planner 5D's
     trade secrets claim is invalid for any other reason.
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 1   *2 (N.D. Cal. Feb. 6, 2012) (striking allegations that information was a trade secret because it was publicly

 2   available on the plaintiffs website); Arkeyo, LLC v. Cummins Allison Corp., 342 F. Supp. 3d 622, 630--33

 3   (E.D. Pa. 2017) (finding no trade secret in light of internet publication and lack of confidentiality

 4   measures). Arkeyo is particularly instructive. There, the court held that a party that made its alleged trade

 5   secrets available online at a URL that was "publicly available to anyone who simply typed [it] into a web

 6   browser" and did so "to individuals who owed no duty of non-disclosure" to the plaintiff had not taken

 7   reasonable measures to protect them. 342 F. Supp. 3d at 631-32.

 8          Accordingly, courts regularly resolve trade secrets claims on summary judgment when the

 9   measures purportedly protecting the alleged trade secrets did not prevent third parties from viewing the

10   information, and when there was no legal obligation (such as a binding confidentiality agreement) requiring

11   secrecy of disclosed information. See, e.g., CTC Glob. Corp. v. Huang, No. 17 Civ. 02202, 2019 WL

12   4148184, at *6 (C.D. Cal. July 29, 2019); Milos Misha Subotincic v. 1274274 Ontario Inc., No. 10 Civ.

13   1946, 2013 WL 3964994, at *19-20 (C.D. Cal. Apr. 9, 2013), Telemasters, Inc v. Vintage Club Master

14   Ass'n, No. 05 Civ. 5139, 2007 WL 9706067, at *8 (C.D. Cal. May 11, 2007). 18
15          B.        Planner 5D publicly disclosed its alleged trade secrets to users of its Website.
16          Planner 5D alleges that its trade secrets are its "JSON object and scene files, individually and as

17   compilations" as well as "the URLs corresponding to each of these files." Ex. 15; see also TS Comp1. ,r,r

18   85, 93; Ex. 16 at 14.

19

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21   -           Accordingly, Planner 5D disclosed and made its alleged trade secrets accessible to the public as

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23
     18 Planner 5D originally pied that it protected its alleged trade secrets only by (1) makin~ it "impossible to
24   access them on its website "without circumventing Planner 5D's software" and (2) prohibiting users from
     accessing them in its Terms of Service. TS Compl. ,r,r 33, 37, 40--41. In its Trade Secret Disclosures,
25   served at the outset of discovery, Planner 5D reaffirmed that it claimed to protect its alleged trade secrets
     through the "structural secrecy" of its website and its Terms of Service. Ex. 15. As discove        ro ressed
26   and it became clear as described herein that Planner 5D's website

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28                                                                     ,   1ch is whether                       ed
     its alleged trade secrets to individuals who owed no duty of confidentiality to Planner 5D.
                                                          29
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 1   a matter oflaw.

 2          Critically, cases interpreting trade secret disclosure in the context of the Internet have held that

 3   information is disclosed for the purposes of trade secret law when it is "made available to the public"

 4   online. Arkeyo, 342 F. Supp. 3d at 631-32 (quoting Oja v. U.S. Army Corps ofEngineers, 440 F.3d 1122,

 5   1131 (9th Cir. 2006)). Indeed, no other rule could possibly apply, as information publicly available on the

 6   Internet "by definition, cannot be protected as a trade secret." Socia/Apps, 2012 WL 381216, at *2.

 7          Applying that standard, it is beyond dispute that Planner 5D disclosed its alleged trade secrets ■

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18          That conclusion is bolstered by the fact that Planner 5D also conceded that it "published" its alleged

19   secrets. Specifically, in its copyright registration applications, Planner 5D stated that its collection of

20   Object Data Files and Scene Data Files were published in the United States in 2016. Ex. 26 at 1-2; Ex. 27

21   at 1-2. "Publication" is a term of art in the Copyright Act and means the distribution of a work "to the

22   public." 17 U.S.C. § 101. Thus, as part of its effort to pursue its copyright claim, Planner 5D conceded

23   that it had made its alleged copyrighted works-which are also its alleged trade secrets-available to the

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 1   public and thereby disclosed them for the purposes of evaluating its trade secret claim. 19
 2
            C.      Planner 5D did not obligate its users to maintain the confidentiality of its alleged trade
 3                  secrets.

 4          Since the undisputed record demonstrates Planner 5D disclosed its alleged trade secrets to its users

 5   and thus its Website's "structural secrecy," Ex. 15, did not prevent acquisition or download of the alleged

 6   trade secrets, the remaining question is whether Planner 5D's Terms of Service-which is the only other

 7   security measure that it claims-obligated its users to protect the confidentiality of those alleged secrets.

 8   see id. It did not. Rather, the undisputed facts confirm that at the relevant time, Planner 5D's Terms of

 9   Service were unenforceable against Planner 5D's users as a matter oflaw. Regardless, the plain language

10   of those Terms did not assert that any information on the Planner 5D's Website was confidential, making

11   it impossible for users to know what particular content Planner 5D considered to be a trade secret and

12   therefore what they might be expected not to disclose.

13                  1.      Planner 5D's Terms of Service are an unenforceable "browsewrap" agreement.

14          Terms of service can protect trade secrets only when they are-at minimum---enforceable

15   contracts. See ELT Sight, Inc. v. EyeLight, Inc., No. 19 Civ. 5545, 2020 WL 7862134, at *23 (C.D. Cal.

16   Aug. 28, 2020) (holding no reasonable measures existed to create a "confidentiality obligation" where

17   there was no "applicable NDA" for the alleged trade secrets); Broker Genius, Inc. v. Zalta, 280 F. Supp.

18   3d 495,520 (S.D.N.Y. 2017) (considering as a threshold issue whether an online license was enforceable).

19   However, the Terms of Service on Planner 5D's Website in 2016 constituted the type of "browsewrap"

20

21   19 While the Copyright Office recognizes that computer programs are unusual among copyrighted works
     in that they can be copyrightable and include trade secret material, that recognition is irrelevant here
22   because Planner 5D's alleged works are not computer programs. See supra at 13-15. Even if they were,
     Planner 5D's admission that its alleged programs have been "published" undermines its claim that those
23   same programs are also trade secrets. When Congress added computer programs to the statutory list of
     copyrightable works in 1980, it did so on the recommendation of the Commission on New Technological
24   Uses of Copyrighted Works ("CONTU"), whose Final Report to Congress recommended adding computer
     programs to the Copyright Act in part because the widescale distribution of such programs made other
25   legal protections inapplicable, including trade secret law. Indeed, the CONTU Final Report expressly
     recognized that because secrecy is "paramount" to trade secret law, the widescale distribution of computer
26   programs would extinguish trade secret claims and make potential copyright protection desirable. Final
     Report of the National Commission on New Technological Uses of Copyrighted Works 17-18 (1978).
27   Planner 5D's attempt to simultaneously claim that the same underlying materials are both published
     computer programs for the purposes of copyright law and trade secret material for the purposes of a
28   misappropriation claim flies in the face of this congressional understanding of how those two types of
     intellectual property intersect.
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 1   agreement that is unenforceable against any user who did not have notice of the Terms.

 2                           a.      Internet terms ofservice are enforceable only under specific circumstances.

 3           Courts enforce terms of service only when they can ensure the user knew of the existence of those

 4   terms. Historically, Internet terms of service have fallen on a spectrum between two extremes. At one

 5   end, "browsewrap" agreements are those in which a website offers terms that are disclosed only through a

 6   hyperlink, and a user manifests assent to those terms merely by using the website. See Berman v. Freedom

 7   Fin. Network, LLC, 30 F.4th 849, 856 (9th Cir. 2022); see also Nguyen v. Barnes & Noble Inc., 763 F.3d

 8   1171, 1176 (9th Cir. 2014). Such agreements are generally unenforceable because there is no certainty

 9   that consumers were even aware that contractual terms were even offered, much less that they were

10   accepting those terms though the continued use of the website. Berman, 30 F.4th at 856. At the other end

11   of the spectrum, "clickwrap" agreements display a pop-up screen with the terms of service on a website as

12   soon as a user accesses it and requires the user to check a box expressly agreeing to the terms before

13   proceeding to use the website. Id In that case, the user has received sufficient notice of the terms being

14   offered. Id.

15           Accounting for these principles, the Ninth Circuit recently held that an online contract is

16   enforceable only if the user ( 1) had actual notice of the contract or (2) was on inquiry notice of the contract.

17   Id. 20 Planner 5D' s Terms of Service are unenforceable under both standards.
18
                             b.      There is no evidence demonstrating any individual user's actual notice of
19                                   Planner 5D's Terms ofService.

20           Actual notice requires proof the user saw the relevant terms. See Nguyen, 763 F.3d at 1176--77.

21   In this case, there is no such proof, as the person who accessed and downloaded Planner 5D's alleged

22   trade secrets never saw Planner 5D's Terms of Service. Song Deel. ,r 22. Moreover, it is undisputed that

23   Planner 5D did not track which of its particular users, if any, saw its Terms of Service. Instead, the data

24   it produced in this litigation showed only that Planner 5D obtained aggregated data of some statistics

25   regarding user visits to its Terms of Service page, but not whether any particular user visited that page.

26

27
     20 Although Berman is the latest articulation of this test, this has been the law in the Ninth Circuit since at
28   least 2014. See Nguyen, 763 F.3d at 1176--79; see also Long v. Provide Com., Inc., 245 Cal. App. 4th 855,
     864--66 (Cal. App. 2016).
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 1   Ex. 13 (RF A Nos. 90 & 92). The data that it did produce shows that only 13 7 out of almost 5 million

 2   new users-that is, visitors to the website who had never been on the website before-viewed the Terms

 3   of Service page during their first session, less than .01 %. Ex. 43. 21 Thus, Planner 5D cannot show that
 4   any particular user saw its Terms of Service, and was thus bound by them.

 5                           C.      Planner 5D did not put users on inquiry notice of its Terms ofService.

 6            Planner 5D did not put its users on inquiry notice ofits Terms of Service as a matter oflaw. Inquiry

 7   notice exists only where a website (1) provides "reasonably conspicuous notice" of its terms, and (2)

 8   requires the user to take some affirmative action such as clicking a button or checking a box to manifest

 9   assetto those terms "unambiguously." Berman, 30 F.4th at 856; see also Doe v. Rob/ox Corp., No. 21 Civ.

10   3943, 2022 WL 1459568, at *5 (N.D. Cal. May 9, 2022) (applying the Berman test). Planner 5D's Terms

11   of Service fail both prongs of this test.

12            First, the only notice Planner 5D provided to users of its Terms of Service was an inconspicuous

13   hyperlink at the bottom of the webpage. See supra at 9. Such a link has none of the hallmarks of reasonably

14   conspicuous notice and contains many of the features of unenforceable agreements, which are discussed

15   below.

16            For notice of terms of service to be "reasonably conspicuous," the notice (such as a hyperlink to

17   the terms) must be in a font size and format that a court could assume a "reasonably prudent Internet user"

18   would have seen, and it cannot be "deemphasized" by the design of the website, such as by the website

19   page having other features or visual elements that draw the user's attention away from the hyperlink.

20   Berman, 30 F.4th at 856--57. For instance, notice is insufficient where the text of the hyperlink to the

21   agreement is in a font smaller than that of the font used in the rest of the website and in a color that blends

22   into the background. Id.; Brooks v. IT Works Mktg., Inc., No. 21 Civ. 1341, 2022 WL 2079747, at *6 (E.D.

23   Cal. June 9, 2022). Yet, Planner 5D's hyperlink is in a grey font, smaller than the text on the rest of the

24   page, and is deemphasized on the page compared to the brightly-colored text and images of the gallery

25   thumbnails or other images on the screen. Exs. 82 & 83.

26            Indeed, Planner 5D' s design looks strikingly similar to other websites that courts have held did not

27

28   21Planner 5D did not produce data showing the aggregate number of users who visited the Terms of Service
     page.
                                                           33
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 1   provide sufficiently conspicuous notices of their terms of service as a matter of law. In all these examples,

 2   the terms of service were disclosed in an inconspicuous hyperlink at the bottom of the website, under more

 3   prominent content designed to attract the user's eye:

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16        Brooks v. IT Works Mktg.,          Nghiem v. Dick's Sporting                                  Ex. 82
         Inc., No. 21 Civ. 1341, 2022       Goods, No. 16 Civ. 97, 2016                      (Planner 5D's Website in 2016)
17         WL 2079747 (E.D. Cal.            WL 9131962 (C.D. Cal. July
18               June 9, 2022)                       5, 2016)

19           Second, Planner 5D also did not require users to manifest their assent to the Terms of Service before

20   accessing its website. Sufficient assent requires users to be "explicitly advised" that the "act of clicking"

21   a button on a website will assent to the terms, whether by prompting the user to take affirmative action to

22   indicate the assent, or through a clear notice that such assent is being assumed through use. Berman, 30

23   F.4th at 857; Nguyen, 763 F.3d at 1178-79. This requirement is necessary because the mere phrase "terms

24   of use" in a hyperlink might not be enough to alert an Internet user that there is a contract at the link. Long,

25   245 Cal. App. 4th at 867. However, Planner 5D's website did not comply with any of these requirements.

26   See supra, at 9. That failure renders the terms included in the Terms of Service unenforceable. See Brooks,

27   2022 WL 2079747, at *7-8; Sifuentes v. Dropbox, Inc., No. 20 Civ. 7908, 2022 WL 2673080, at *4 (N.D.

28   Cal. June 29, 2022).

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 1                  2.      The plain language of the Terms of Service did not create a duty of confidentiality.

 2          Even if the Terms of Service on Planner 5D's Website in 2016 were enforceable-which they were

 3   not-they could not be a reasonable security measure because they did not contain an express

 4   confidentiality provision. It is the existence of a confidentiality agreement that creates the obligation to

 5   keep information secret. HiRel, 2006 WL 3618011, at *8; Broker Genius, Inc., 280 F. Supp. 3d at 521-22

 6   (collecting cases); SMH Enters, L.L.C. v. Krispy Krunchy Foods, L.L.C., No. 20 Civ. 2970, 2021 WL

 7   4460522, at *13 (E.D. La. Sept. 29, 2021). Yet, Planner 5D's Terms of Service in 2016 did not include

 8   any express confidentiality provision that prohibited users from disclosing information transmitted to them

 9   by Planner 5D's Website or that even put users on notice that Planner 5D considered information on its

10   Website to be confidential. Ex. 36. Further, nothing in the Terms of Service identified what components

11   of the Website materials, if any, Planner 5D considered to be confidential. To the contrary, the Terms of

12   Service referred only generally to the "Planner5D project" (defined as "a social platform for virtual

13   interaction between users") and "Materials" on the Website, defined broadly as "any text and other

14   materials ... [the user] may use or create in connection with the Services." Id. That broad language

15   encompassed both Planner 5D's alleged trade secrets and materials Planner 5D has never claimed are trade

16   secrets. Thus, the Terms of Service did not notice users about what, if anything, must be kept secret.

17   VI.    CONCLUSION

18          For all the reasons stated above, the Court should enter summary judgment in Defendants' favor.

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 1

 2   Dated: February 17, 2023                         KIRKLAND & ELLIS LLP

 3
                                                      Isl Dale M Cendali
 4
                                                      Dale M. Cendali (S.B.N. 1969070)
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 6                                                    Meta Plaiforms, Inc.and Facebook Technologies, LLC
 7

 8
                                                      JENNER & BLOCK LLP
 9

10                                                    Isl Andrew H Bart (with consent)
                                                      Andrew H. Bart
11

12                                                    Attorneys for Defendant
                                                      The Trustees ofPrinceton University
13

14                       ATTESTATION PURSUANT TO CIVIL L.R. 5-l{i}{3)

15          I, Dale M. Cendali, am the ECF User whose ID and password are being used to file this

16   document. I hereby attest that concurrence in the filing of this document has been obtained from the

17   signatories.

18    DATED: February 17, 2023                            Isl Dale M Cendali
                                                          Dale M. Cendali
19

20

21                                       CERTIFICATE OF SERVICE

22          On February 17, 2023, I electronically filed the foregoing with the Clerk of the Court by using the

23   CM/ECF system which will send a notice of electronic filing to all persons registered for ECF. All

24   copies of documents required to be served by Fed. R. Civ. P. 5(a) and L.R. 5-1 have been so served.

25
      DATED: February 17, 2023                            Isl Dale M Cendali
26                                                        Dale M. Cendali
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